                 Case 21-10023-JTD             Doc 105        Filed 02/05/21       Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAV~JARE


 In re:                                                   )    Chapter 11

 WARDMAN HOTEL OWNER, L.L.C., 1                           )    Case No. 21-10023 (JTD)

                            Debtor.                       )
                                                               Docket Ref. No. 46

          ORDER: (A) AUTHORIZING THE DEBTOR TO EMPLOY AND RETAIN
              EASTDIL SECURED, L.L.C. AS REAL ESTATE BROKER AND
           (B) WAIVING CERTAIN REQUIREMENTS OF LOCAL RULE 2016-2

                 Upon consideration of the application (the "Application")2 of the Debtor in the

above-captioned chapter 11 cases, for an order (this "Order") pursuant to sections 327(a) and

328(a) of title 11 of the United States Code (the "Bankruptcy Code"), Rule 2014 of the Federal

Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), and Rule 2014-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the "Local Rules") for authority to employ and retain Eastdil Secured L.L.C.

("Eastdil" or "Agent") as their real estate broker with respect to sale of the Property, effective as

of the Petition Date, in accordance with the terms and conditions of the Engagement Agreement;

and the Court having reviewed the Application, the Declaration and notice of a hearing on the

Application (the "Hearing") having been given; and the Court having found that (i) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012, (ii) this proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b), (iii)



t The last four digits of the Debtor's U.S. tax identification number are 9717. The Debtor's mailing address is 5035
Riverview Road, NW, Atlanta, GA 30327.
2 All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Application.
                  Case 21-10023-JTD          Doc 105       Filed 02/05/21     Page 2 of 3




venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409, (iv) notice of this Application and the

Hearing was appropriate under the circumstances and (v) Eastdil is a "disinterested person" as

defined in Section 101(14) of the Bankruptcy Code and as required by section 327(a) of the

Bankruptcy Code; and all objections (if any) to the requested relief having been withdrawn or

overruled on the merits; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT

                            The Application is granted as set forth herein.

                   2.       The Debtor is authorized to retain and employ Eastdil as real estate broker

in this chapter 11 case, pursuant the terms and conditions set forth in the Engagement

Agreement, as modified by this Order, effective as of the Petition Date.

                            Except to the extent set forth herein, the Engagement Agreement,

including, without limitation, the Fee Structure, is approved pursuant to sections 327(a) and

328(a) of the Bankruptcy Code, and the Debtor is authorized to pay, reimburse, and indemnify

Eastdil in accordance with the terms and conditions of, and at the time specified in, the

Engagement Agreement, provided, however, that the Debtor shall not be authorized to pay

Eastdil the additional fee of 0.20% the total gross sale price of the Property ("Additional Fee"),

and Eastdil shall have no obligation to pay this Additional Fee to Hotel Asset Value

Enhancement Inc.

                   4.       Eastdil shall file a final fee application for allowance of compensation

pursuant to the procedures set forth in section 33.0 of the Bankruptcy Code, such Bankruptcy

Rules as may then be applicable, and any other applicable orders and procedures of this Court;

provided, however, that the time keeping requirements of Local Rule 2016-2 shall be deemed

waived and not applicable for purposes of Eastdil's employment and retention in this chapter 11



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                   Case 21-10023-JTD          Doc 105       Filed 02/05/21    Page 3 of 3




case. Notwithstanding anything provided in the Engagement Agreement, Eastdil shall not be

paid the Advisor Fee until approved by this Court through a final fee application.

                   5.       Eastdil shall not be entitled to payment of attorney's fees for defending its

fee applications.

                   6.       So long as this chapter 11 case is pending, the Court shall have jurisdiction

over any disputes among the parties hereto related to the Engagement Agreement.

                   7.       To the extent that there may be any inconsistency between the terms of the

Application, the Engagement Agreement and this Order, the terms of this Order shall govern.

                   8.       The Debtor and Eastdil are authorized and empowered to take all actions

and execute any documents necessary to implement the relief granted in this Order.

                   9.       The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

                   10.      This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

                   11.      This Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




                                                               JOHN T. DORSEY
          Dated: February 5th, 2021                            UNITED STATES BANKRUPTCY JUDGE
          Wilmington, Delaware

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